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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE




 JUANA DOE I et al,

      Plaintiffs,                            Civil Action No. 17-1494-JFB-SRF

                                                        FILED UNDER SEAL
 v.
 IFC ASSET MANAGEMENT COMPANY,              PLAINTIFFS’ UNOPPOSED MOTION
 LLC,                                           TO FILE FIRST AMENDED
                                                COMPLAINT UNDER SEAL
 INTERNATIONAL FINANCE
 CORPORATION,
      Defendants.
 Misty A. Seemans, DE Bar # 5975          Richard Herz
 O.P.D. (Pro Bono; cooperating attorney   Marissa Vahlsing
 with EarthRights International)          Marco Simons
 820 North French Street                  Sean Powers
 Third Floor                              Kelsey Jost-Creegan
 Wilmington, DE 19801                     EARTHRIGHTS INTERNATIONAL
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 Email: misty@earthrights.org             Washington, DC, 20006
                                          Tel: (202) 466-5188
 Dated: May 30, 2018
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                                          Judith Brown Chomsky
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                                          Counsel for Plaintiffs
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                     PLAINTIFFS’ UNOPPOSED MOTION TO FILE FIRST AMENDED
                                    COMPLAINT UNDER SEAL

               Plaintiffs hereby move to have Plaintiffs’ First Amended Complaint (FAC), D.I. 38,

 removed from the public docket and filed under seal, and to replace D.I. 38 in the public record

 with the attached, redacted version of the First Amended Complaint. Defendants have indicated that

 they do not object.




        1. Background.




 																																																													


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     2. Filing under seal is justified.



                                                                                           Courts have

 regularly held that filing information under seal is permitted when there are safety concerns for the

 plaintiff or others. See	Rossbach v. Rundle, 128 F. Supp. 2d 1348, 1350 (S.D. Fla. 2000)(sealing

 discovery motions to prevent subjecting non-parties to unwanted publicity); Yaman v. United States

 Dep't of State, 786 F. Supp. 2d 148, 154 (D.D.C. 2011) (plaintiff permitted to file her address under

 seal because of her interest in protecting her minor daughters); Doe v. City of San Diego, 2014 U.S.

 Dist. LEXIS 66535, *18 (S.D. Cal. May 14, 2014) (plaintiff permitted to keep her identifying

 information confidential).




     3. Relief requested.

         For these reasons, Plaintiffs respectfully request leave to have the unredacted FAC, D.I. 38,

 filed under seal. The sealing would remain for the remainder of this litigation. Upon the termination

 of the litigation, Plaintiffs request that the document be destroyed.

         Plaintiffs respectfully request leave to substitute D.I. 38 with a redacted version, filed hereto

 as Exhibit 1.

 Dated: May 30, 2018                     Respectfully submitted,

                                         /s/ Misty A. Seemans


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     Based in CT; admitted in NY; does not practice in DC’s courts.
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                                       CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document is being served this day by email on the

 following counsel of record for Defendants:

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 May 30, 2018                                                 /s/ Misty A. Seemans
                                                              Misty A. Seemans




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